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6                              UNITED STATES DISTRICT COURT

7                                     DISTRICT OF NEVADA

8                                                ***

9      UNITED STATES OF AMERICA,                      Case No. 2:11-cr-00396-MMD-PAL
10                                       Plaintiff,                  ORDER
11            v.
12     OMAR GAMEZ,
13                                    Defendant.
14

15            On January 15, 2013, the Court granted Krystallin D. Hernandez, Esq.’s “Motion

16     to Withdraw as Attorney of Record” (dkt. no. 134) and ordered new counsel appointed

17     (dkt. no. 137).

18            IT IS HEREBY ORDERED that Kevin R. Stolworthy, Esq. is appointed as

19     counsel for Omar Gamez in place of Krystallin D. Hernandez, Esq. for all further

20     proceedings.

21            IT IS FURTHER ORDERED that Ms. Hernandez shall forward the file to Mr.

22     Stolworthy forthwith.

23

24            DATED this 25th day of January 2013.

25            Nunc Pro Tunc Date: January 24, 2013.

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27                                                      MIRANDA M. DU
                                                        UNITED STATES DISTRICT JUDGE
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